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Fll§C‘ JL“/ l

IN THE UN|TED STATES DlSTR|CT COURT FOR THE

wEerRN DlsrRlcr oFrENNEssEE, EAerRN Dlvlslor§{§ will 30 PH_ ,}: 35

 

NE|L MORR|$,

 

P|ciiniiff,
vs. No. l-O4-l 200 T-An

SAl\/'\'S CLUB ClnCl TRAVlS MAI_ONE, .|URY DEMANDED

Defendonls_.

 

ORDER GRANT|NG EXTENS|ON OF DEADL|NES

 

This matter is before the Court on P|aintiff's Motion for Continuance and Extension of

Deadlines. Upon consideration of the parties’ Motion and for good cause shown:

It is therefore, ORDERED, DECREED, and ADJUDGED that the date set for the trial in

this matter be continued until January 16th, 2006, and the deadline for all Written discovery and

depositions be extended ninety (90) days, up to and including September 30, 2005, and the

deadline for the filing of dispositive motions be extended ninety (90) days, up to and including

October 15, 2005.

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ENTERED this the l day of YZ‘_'E 2005.

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UNIT STATEs DIsTRIcT CouRT CHIEF JuDGE

 

This document entered on the docket sheet in compliance
with Rule 58 and,'or_'/’Q (a) FFlCP on q l l m §
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Case 1:04-cv-01200-.]DT-STA Document 21 Filed 06/30/05 Page 2 of 3 Page|D 22

APPROVED FOR ENTRY:

LAW OFFIcEs oF MAIDEN AND BENNErr

RIcHARD D. BENNErT, BPR #1 156 63&%““
1155 Ha||e Parl< Circ|e

Co||iervil|e, TN 38017

(901) 854-0777

(901) 861-4625 facsimile

ATroRNEY FoR PLAINTIFF

CERTIFICATE OF SERVICE

I hereby certify that on the 28th day of June, 2005, I served a copy of the foregoing
pleading upon the following person(s) by:
Hand delivery;
X U.S. Mail (First C|ass/Postage Prepaid)
U.S. Mall (Certified/Return Receipt Requested)

 

TO: Brian A. l_apps, Jr.
Waller Lansden Dortch & Davisr PLLC
511 Union Street, Suite 2700
' Nashvil|e, TN 37219
Phone: (615) 850-8907
Fax: (615) 244-6804

134./£ 1214/133 @.411,4%

RICHARD D. BENNETr

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 21 in
case 1:04-CV-01200 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

ESSEE

 

Keta J. Barnes

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Brian A. Lapps

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Richard D. Bennett
MAIDEN & BENNETT
1155 Halle Park Cr.
Collierville, TN 38017

Honorable J ames Tcdd
US DISTRICT COURT

